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B18W (10/05)
                                     UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                       Case No.: 05−60776−GMB
                                       Chapter: 13
                                       Judge: Gloria M. Burns

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Ellen M Camp
   41 Somers Ave.
   Egg Harbor Township, NJ 08234
Social Security No.:
   xxx−xx−0318
Employer's Tax I.D. No.:




                         DISCHARGE OF DEBTOR AFTER COMPLETION
                                  OF CHAPTER 13 PLAN

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED :

The debtor is granted a discharge under section 1328(a) of title 11, United States Code, (the Bankruptcy Code).




                                                           BY THE COURT

Dated: March 20, 2007                                      Gloria M. Burns
                                                           United States Bankruptcy Judge



                   SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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                                EXPLANATION OF BANKRUPTCY DISCHARGE
                                        IN A CHAPTER 13 CASE

     This court order grants a discharge to the person named as the debtor after the debtor has completed all
payments under the chapter 13 plan. It is not a dismissal of the case.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property:] [There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 13 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt is provided for by the chapter 13 plan or is disallowed by the court
pursuant to section 502 of the Bankruptcy Code.

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 13 bankruptcy case are:

      a. Debts that are in the nature of alimony, maintenance, or support;

      b. Debts for most student loans;

      c. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      d. Debts for personal injuries or death caused by the debtor's operation of a motor, vessel, or aircraft vehicle
      while intoxicated;

      e. Debts provided for under section 1322(b)(5) of the Bankruptcy Code and on which the last payment is due
      after the date on which the final payment under the plan was due; and

      f. Debts for certain consumer purchases made after the bankruptcy case was filed if prior approval by the
      trustee of the debtor's incurring the debt was practicable but was not obtained.



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
